                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF W ISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,
              v.                                                  Case No. 07-CR-57


BRUCE FURR,
STEVEN FURR,

                      Defendants.


  DECISION AND ORDER ADOPTING MAGISTRATE JUDGE RECOMMENDATION
           AND DENYING FURRS’ MOTION TO DISMISS (DOC. 572)

       Bruce and Steven Furr move to dismiss this case for violation of the Speedy Trial

Act, 18 U.S.C. § 3161, and their Sixth Amendment right to a speedy trial. Magistrate Judge

Patricia J. Gorence recommends that this court deny the motion. Although the court finds

the Sixth Amendment issue to be a close call, the motions will be denied.

       Regarding a motion to dismiss a magistrate judge may propose findings and make

recommendations; the ultimate decision is for the district judge. 28 U.S.C. § 636(b)(1)(A),

(B); Fed. R. Crim. P. 59(b)(1).       The district court judge must review de novo the

recommendations of the magistrate judge to which a party timely objects. 28 U.S.C.

§ 636(b)(1)©; Fed. R. Crim. P. 59(b)(2), (3). Portions of a recommendation to which no

party objects are reviewed for clear error. Johnson v. Zema Sys. Corp., 170 F.3d 734, 739

(7th Cir. 1999). The clear error standard means that the court can overturn the magistrate

judge’s ruling only if it is “left with the definite and firm conviction that a mistake has been

made.” Weeks v. Samsung Heavy Indus. Co., 126 F.3d 926, 943 (7th Cir. 1997).




       Case 2:07-cr-00057-LA        Filed 03/10/15     Page 1 of 33     Document 650
                                    SPEEDY TRIAL ACT

       Magistrate Judge Gorence recommends rejection of the Speedy-Trial-Act argument

as insufficiently developed. This court agrees.

       The Speedy Trial Act (STA) provides that a defendant must go to trial within seventy

days of his first appearance before a judicial officer or the indictment, whichever is later.

18 U.S.C. § 3161(c)(1). But the statute sets forth numerous exclusions to that time period.

Certain time periods “shall be excluded” and thus are automatically not counted, regardless

of whether they actually caused delay. § 3161(h); United States v. Hills, 618 F.3d 619, 626

(7th Cir. 2010). For instance, delay due to any mental competency or physical capacity

proceedings regarding the defendant shall be excluded, as is delay from any interlocutory

appeal, consideration of a proposed plea agreement by the defendant, or a motion through

its prompt disposition. § 3161(h)(1)(A), ©, (D), (G). Also, a reasonable period of delay shall

be excluded when the defendant is joined for trial with a codefendant as to whom the time

has not run and no severance has been granted. § 3161(h)(6). Other time is excluded

upon a finding by a judge that the ends of justice served by delay outweigh the interest of

the public and the defendant in a speedy trial. § 3161(h)(7)(A).

       As recognized in § 3161(h)(6) and by the Seventh Circuit, the presence of

codefendants in a case affects the STA calculations. See United States v. Tanner, 941

F.2d 574, 580 (7th Cir. 1991). Congress has indicated its preference for joint trials and

intends that delays resulting from the joinder of codefendants be liberally excluded. Tanner,

941 F.2d at 580; United States v. Dennis, 737 F.2d 617, 621 (7th Cir. 1984). The Seventh




                                              2


       Case 2:07-cr-00057-LA       Filed 03/10/15     Page 2 of 33     Document 650
Circuit has stated that under § 3161(h)(6),1 excludable delay of one defendant “‘may be

ascribed to all codefendants in the same case, absent severance.’” Tanner, 941 F.2d at

580 (quoting Dennis, 737 F.2d at 620). And although Bruce and Steven Furr have sought

severance multiple times, severance has not been granted.

          W ith an exception inapplicable here, a defendant bears the burden of supporting his

STA motion. 18 U.S.C. § 3162(a)(2). Failure to develop a speedy-trial argument, whether

under the STA or Sixth Amendment, results in waiver of it. See United States v. Loera, 565

F.3d 406, 412 (7th Cir. 2009) (“Loera I”) (“[E]ven though Loera mentioned the Sixth

Amendment in his motion to dismiss, his argument revolved entirely around the Speedy

Trial Act. In his eight-page supporting memorandum, Loera never uttered a word about the

Constitution. By failing to develop the constitutional issue in the context of the earlier case,

Loera waived it.”).

          In the reverse of the Loera I situation, the Furrs mentioned the STA in the title of their

motion but thereafter did not mention it other than to state generally that the speedy-trial

right set forth in the Sixth Amendment is fundamental “and has been codified in the Speedy

Trial Act, 18 U.S.C.S. § 3161-74,” that this Court should protect their constitutional and

statutory rights to a speedy trial, and that the STA preserves society’s interest in ensuring

swift prosecutions. (Doc. 573 at 3-4, 6; see id. generally.) The arguments in their initial

brief concerned only Sixth-Amendment speedy-trial jurisprudence. (See, e.g., Doc. 573 at

2 (introducing argument by referencing only the four-factor constitutional speedy-trial right

test).)



          1
              The subsection was numbered (h)(7) at the time. See Tanner, 941 F.2d at 578 n.2.

                                                       3


          Case 2:07-cr-00057-LA            Filed 03/10/15      Page 3 of 33       Document 650
       Not until their reply brief did the Furrs provide any argument concerning the language

of the STA. In their reply they pointed out that delays caused by codefendants are excluded

only if such delays do not exceed a reasonable period, though they acknowledged that

whether delay was reasonable depends on the facts of each case. (Doc. 586 at 14 (citing

18 U.S.C. § 3161(h)(1), (6)).) The Furrs pointed out in passing the usual STA rule that a

maximum of thirty days are excluded for a motion under advisement. (Doc. 586 at 4.) They

argued generally that a designation of a case as “complex” under local rules does not allow

the case to extend over six or seven years without a trial date.        (Doc. 586 at 14.)

Additionally, the Furrs pointed out the lack of specific findings under § 3161(h)(7). (Doc.

586 at 14-15.) Moreover, they asserted that “the docket confirms that during the six-plus

year period since indictment, there are multiple seventy-plus day periods of non-excludable

time” (Doc. 586 at 13), but they did not specifically challenge or discuss particular time

periods.

       Magistrate Judge Gorence found that by not addressing the STA in the opening brief

and not providing a specific challenge under the STA even in their reply, the Furrs failed to

develop the STA argument and waived it. Consequently, she recommended denial. (Doc.

594 at 43.) This court agrees and finds that the challenge was not properly made in the

Furrs’ initial brief or even in the reply brief.

       In their objections, the Furrs contend that Loera I does not apply because it concerns

the Sixth-Amendment speedy-trial right rather than the STA right. According to the Furrs,

there are statutory requirements for a waiver of STA rights and the STA right does not

expire until trial or a guilty plea—so even as of today it has not expired. (See Doc. 604 at

11-12.) But waiver of STA rights is an apple to the orange of a waiver of an argument.

                                                   4


       Case 2:07-cr-00057-LA          Filed 03/10/15   Page 4 of 33   Document 650
Regardless of whether the STA provides a statutory bar after trial or a guilty plea, courts

operate on motions deadlines and briefing rules. Loera I comports with the longstanding

rule that a litigant waives an argument by failing to make it. See Everroad v. Scott Truck

Sys., Inc., 604 F.3d 471, 480 (7th Cir. 2010) (“[H]er appeal is the first time that she claims

that her transfer from dispatch was an adverse employment action, and she has thus

waived that claim.”); Burton v. City of Franklin, No. 1:11-cv-00267-JMS-TAB, 2011 W L

2938029, *2 (S.D. Ind. July 18, 2011) (“It should go without saying that the Seventh Circuit

adheres to the longstanding rule that a litigant waives an argument by failing to make it.”).

The waiver rule exists concerning proceedings before the magistrate judge and objections

or appeal to this court just the same as exists for proceedings before this court then the

Seventh Circuit. Arguments not raised in front of the magistrate judge and raised for the

first time in objections made to the district judge are waived. Isringhausen Imports, Inc. v.

Nissan N. Am., Inc., No. 10-CV-3253, 2011 W L 1331886, *4 (C.D. Ill. Apr. 6, 2011);

Zendejas v. Reel Cleaning Servs., Inc., No. 05 C 6933, 2009 W L 2431299, *8 (N.D. Ill. Aug.

6, 2009); see United States v. Melgar, 227 F.3d 1038, 1040 (7th Cir. 2000) (“[A]rguments

not made before a magistrate judge are normally waived. . . . “[T]here are good reasons for

the rule that district courts should not consider arguments not raised initially before the

magistrate judge, even though their review in cases governed by 28 U.S.C. § 636(b)(1) is

de novo.”).

       And arguments made for the first time in reply are also deemed waived. United

States v. Kennedy, 726 F.3d 968, 974 n.3 (7th Cir. 2013); United States v. Gallardo

(Flores), No. 13 CR 660, 2015 W L 278908, *5 (N.D. Ill. Jan. 21, 2015). Thus, by making



                                              5


       Case 2:07-cr-00057-LA       Filed 03/10/15     Page 5 of 33     Document 650
no more than a few passing references to the STA in their initial brief, the Furrs waived any

STA argument.

       But even if STA arguments in their reply brief and objections are considered, the

arguments were not sufficiently developed. The Furrs have provided no precise calculation

of exact days elapsed and unexcused days versus days of excludable time. See, e.g.,

United States v. Abad, 514 F.3d 271, 273 (2d Cir. 2008) (defendant counted 223 unexcused

days while the government counted three). They refer to chunks of time regarding pending

motions without noting that portions of those time periods could be excluded under other

clauses as well. For instance, the entire time the present motion to dismiss has been

pending, Daxesh Patel’s plea agreement has been pending without acceptance by the court

in New Jersey. Delay caused by Fed. R. Crim. P. 20 proceedings of a codefendant is

excludable under § 3161(h)(1)(G). Tanner, 941 F.2d at 581. Similarly, the Furrs fail to

acknowledge or address whether 978 days are excludable due to the appeal filed June 4,

2010 (appeal number 10-2367), which was not decided by the Seventh Circuit until March

8, 2013. (Appeal number 10-3014 was also pending for 315 days during this time period.)

The Furrs discuss the “reasonable time” language of § 3161(h)(6), but fail to parse when

it applies to codefendant delays compared to when subsection (h)(1), which does not

mention reasonableness, applies (such as related to “any interlocutory appeal”). And

though the Furrs note that codefendant delays under § 3161(h)(6) must be reasonable they

fail to argue specifically regarding what was reasonable or unreasonable in this case (Doc.

586 at 14), such as whether the time from the filing of Daxesh Patel’s plea agreement to the

present is reasonable or properly excluded.



                                              6


       Case 2:07-cr-00057-LA       Filed 03/10/15    Page 6 of 33     Document 650
        In their objections, the Furrs discuss the time spent by the court deciding motions,

but they fail to address the argument sufficiently. Generally, the STA excludes delay

caused by a pending motion from the time of filing until a hearing on the motion or for up

to thirty days after the court receives the last filing on the matter. § 3161(h)(1)(H); United

States v. Pansier, 576 F.3d 726, 732 (7th Cir. 2009). However, when a court is called upon

to decide multiple motions, that period may be extended beyond thirty days as long as the

court resolves the pending motions with reasonable promptness. Pansier, 576 F.3d at 732.

The Furrs fail to discuss what amount of time they consider to have been reasonable for

Magistrate Judge Gorence to decide the privilege issues of the Furrs and defendants

Balsiger and Curry, and then for this court to address the objections, with due consideration

for the volume of allegedly privileged documents and issues involved, the multiple revised

logs and briefing, and the other motions filed during that time period. Even the Furrs have

admitted that their codefendants’ privilege issues were “complex” and could involve an

interlocutory appeal. (Doc. 604 at 6; Doc. 258 at 13.)

        In their objections, the Furrs fault the government for not arguing that the delays

caused by Balsiger and Currey’s pretrial conduct were reasonable. But again, the Furrs

bear the burden of establishing that the STA was violated.               And, importantly, the

government cannot be expected to respond to arguments that were not raised in the initial

brief; nor can it be faulted for failing to predict what the Furrs would argue for the first time

in their reply.

        In sum, the STA argument was not made in the Furrs’ initial brief on their motion and

was insufficiently raised in their reply brief. Thus, in this court’s view, the magistrate judge’s

recommendation for denial of the STA motion was correct. Moreover, even if the Furrs

                                                7


       Case 2:07-cr-00057-LA         Filed 03/10/15     Page 7 of 33      Document 650
added to the STA argument in their objections, they nevertheless failed to develop it

sufficiently. Hence, the motion based on STA rights will be denied.

                    SIXTH AMENDMENT RIGHT TO SPEEDY TRIAL

       The Sixth Amendment guarantees that an accused “shall enjoy the right to a speedy

. . . trial.” U.S. Const. amend. VI. To determine whether the right has been violated, a court

considers four questions: (1) whether delay before trial was uncommonly long, (2) whether

the government or the defendant is more to blame for the delay, (3) whether the defendant

asserted his right to a speedy trial, and (4) whether the defendant suffered prejudice as a

result of the delay. Doggett v. United States, 505 U.S. 647, 651 (1992); see Barker v.

Wingo, 407 U.S. 514, 530 (1972). This balancing test involves “a difficult and sensitive

process.” Barker, 407 U.S. at 533. No one factor is necessary or sufficient for a finding that

the speedy-trial right has been violated. Id.

       The four factors are not simply assessed individually. “[T]hey are related factors and

must be considered together with such other circumstances as may be relevant.” Id. For

instance, “[t]he presumption that pretrial delay has prejudiced the accused intensifies over

time.” Doggett, 505 U.S. at 652. According to the Seventh Circuit, two recognized forms

of prejudice “are really just aspects of the length of delay.” Loera v. United States, 714 F.3d

1025, 1031 (7th Cir. 2013) (“Loera II”). And a defendant’s invocation of his right to a speedy

trial can be counterbalanced by contrary actions that cause delay. See United States v.

Oriedo, 498 F.3d 593, 600 (7th Cir. 2007) (noting in regard to the third factor that although

Oriedo said he opposed certain continuances he later sought numerous continuances of his

own and filed a motion that delayed the case).



                                                8


       Case 2:07-cr-00057-LA        Filed 03/10/15    Page 8 of 33      Document 650
       The Supreme Court has indicated that the speedy-trial right is amorphous, depends

on the circumstances, and is consistent with delays. Vermont v. Brillon, 556 U.S. 81, 89

(2009). The four-factor balancing test requires the court to approach speedy-trial issues on

an ad hoc basis. Barker, 407 U.S. at 530. There is no per se rule of constitutional law that

requires trial within a fixed time. United States ex rel. Mitchell v. Fairman, 750 F.2d 806,

810 (7th Cir. 1984). The right cannot be quantified into a specified number of days or

months. Barker, 407 U.S. at 523. And given the availability of the STA, “there shouldn’t be

many cases in which federal defendants successfully invoke the speedy trial clause.” Loera

II, 714 F.3d at 1032.

(1)    Length of Delay

       At the outset, the first factor is a triggering mechanism; unless the time between

accusation and trial crossed a minimum threshold of about a year, the court need not

consider a constitutional speedy-trial argument. Doggett, 505 U.S. at 651-52 & n.1; Oriedo,

498 F.3d at 597. If the analysis is applicable, the court then considers the extent to which

the delay stretches beyond that year. Doggett, 505 U.S. at 652; Oriedo, 498 F.3d at 597.

The assessment of delay depends upon the circumstances of the case as “the delay that

can be tolerated for an ordinary street crime is considerably less than for a serious, complex

conspiracy charge.” Barker, 407 U.S. at 531. In Barker, the Court noted that over five years

between arrest and trial in a murder case was extraordinary. Id. at 533.       Magistrate

Judge Gorence found that the length of delay in this case significantly exceeds the

minimum; therefore, this factor weighs in favor of the defendants. (Doc. 594 at 44.) Here,

almost eight years have elapsed since indictment, so the minimum threshold was crossed



                                              9


       Case 2:07-cr-00057-LA       Filed 03/10/15     Page 9 of 33     Document 650
long ago. Trial is now set for October 26, 2015. Eight years is an extremely long time for

a criminal case to be pending, and some of the alleged criminal acts occurred years before

the indictment. But this is not a routine gun charge or even a standard drug conspiracy

case for which even a year might be considered too long. This case has been complex

since it began, involving conduct occurring in at least four different states in this country as

well as Mexico; eleven individual defendants living in Texas, Indiana, and New Jersey; a

twenty-seven count superseding indictment including twenty-five claims of wire fraud with

five alleged victims, a count of conspiracy to commit wire fraud, and a count of conspiracy

to obstruct justice; and a coupon business processing millions of coupons and generating

millions of dollars. The government indicated at one point early in 2007 that it held over ten

tons of physical evidence in warehouses and had already provided defendants with 116,000

pages of discovery. (See Doc. 99 at 3; Doc. 87.) Privilege claims alone initially involved

over 9000 documents. Getting the case to trial within the one-year threshold would have

been extraordinary.    Thus, the eight years is tempered substantially by the size and

complexity of the case.

(2)    Blame for the Delay

       The Supreme Court has called this second factor the “flag all litigants seek to

capture.” United States v. Loud Hawk, 474 U.S. 302, 315 (1986). For this factor, the court

examines the course of pretrial proceedings for the reason for delays. Hills, 618 F.3d at

630; Oriedo, 498 F.3d at 597.        The aim of the inquiry is to determine whether the

government or the criminal defendant is more to blame for the delay. See Doggett, 505

U.S. at 651; Maples v. Stegall, 427 F.3d 1020, 1026 (6th Cir. 2005).



                                              10


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 10 of 33      Document 650
       Because pretrial delay is often inevitable and wholly justifiable, different weights are

assigned to different reasons for delay. Hills, 618 F.3d at 630; see Brillon, 556 U.S. at 90;

Barker, 407 U.S. at 531. Delays resulting from one party’s need to prepare are obviously

attributable to that party. Hills, 618 F.3d at 630. And reasonable delay caused by a

defendant’s own motions should be attributed to him. See Loud Hawk, 474 U.S. at 316-17

(“‘Having sought the aid of the judicial process and realizing the deliberateness that a court

employs in reaching a decision, the defendants are not now able to criticize the very

process which they so frequently called upon.’”).

       Deliberate bad faith delay by the government to hamper the defense or gain some

impermissible advantage weighs very heavily against the prosecution. Brillon, 556 U.S. at

90; Doggett, 505 U.S. at 656. Similarly, deliberate disruption of proceedings by a defendant

weighs heavily against that defendant. Brillon, 556 U.S. at 93-94.

       Negligence by the government weighs against it, but less heavily than deliberate

delay. Id. at 90. Government negligence in bringing a defendant to trial neither compels

relief nor is automatically tolerable. Doggett, 505 U.S. at 656-57. But toleration of negligent

delay wanes as the length of delay grows. Id. at 657. In other words, presumed prejudice

from government negligence grows over time. United States v. Dionisio, No. 04-cr-30-bbc,

2008 W L 4534352, at *6 (W .D. W is. Oct. 6, 2008) (Crocker, M.J.), adopted by No. 04-cr-30-

bbc, 2008 W L 4949914 (W .D. W is. Nov. 17, 2008) (Crabb, J.).

       Delays resulting from a trial court’s schedule are generally attributed to the

government but weighted less heavily. Hills, 618 F.3d at 630; see Brillon, 556 U.S. at 90.

Moreover, “‘[d]elays due to the complexity of the case and the large number of defendants



                                              11


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 11 of 33     Document 650
support a finding that no Sixth Amendment violation occurred.’” Hills, 618 F.3d at 630

(quoting United States v. Bass, 460 F.3d 830, 836 (6th Cir. 2006)).

        The Furrs initially devoted little argument to the issue of blame, treating this factor

as a given in their favor. Their entire argument on blame for delay was as follows:

                 Further, as this Court well knows, Bruce and Steven Furr are not to
        blame for the inordinate delay in bringing this case to trial. A substantial
        portion of the last six-plus years was consumed by protracted privilege
        litigation, the cause of which was indisputably the government’s insistence on
        pursuing documents held by IOS’s lawyers, hundreds of which were privileged
        to one or more of the individual defendants in this case. The Furrs
        participated in that litigation only to the extent necessary to preserve the
        relatively few documents truly privileged as to them; an assertion proven true
        by the fact that this Court upheld the vast majority of the Furrs’ claims of
        privilege.

(Doc. 573 at 3.) But the Furrs’ lack of blame is not self-evident as this paragraph suggests.

        In their reply brief on the motion and in their objections, the Furrs argue that delay

caused by other defendants, in particular Thomas Balsiger and James Currey, should not

be attributed to the Furrs.2 The Furrs contend that their constitutional right to a speedy trial

cannot be supplanted by the actions of delay-causing codefendants, especially here, where

the Furrs sought severance to avoid that very result. (Doc. 604 at 6.) As support, the Furrs

point to caselaw from the Sixth Circuit.

        In Maples, the Sixth Circuit addressed delay caused by the defendant (Maples), his

codefendant, and the court. Early in the case, Maples filed various motions in limine and

a motion to continue, then the codefendant filed an entrapment motion that was pending for




       2
           The Furrs devote more argument to the issue of blame in their reply brief and in briefing on
objections. As with the STA argument, the court could find the right to further argument has been waived.
However, because the constitutional argument as a whole was substantially challenged in the opening brief,
the court will consider the Furrs’ expanded arguments regarding blame.

                                                   12


       Case 2:07-cr-00057-LA           Filed 03/10/15       Page 12 of 33        Document 650
almost three months before Maples joined it. After the decision another three months later,

the case was continued for fourteen months, initially because the state failed to transport

the detained Maples for trial and then either because of the codefendant’s motions to

continue or for unexplained reasons.

       The Sixth Circuit found that the initial nine- to ten-month delay (through the decision

on the entrapment motion) was minimally attributable to Maples but largely caused by the

codefendant’s actions and the court’s delays, and the time following the entrapment

decision was entirely attributable to the court’s unexplained continuances. 427 F.3d at

1026. The Sixth Circuit noted that while the general rule in STA cases is that excludable

delay of one defendant is attributed to all, no case stated the same principle for a

constitutional speedy-trial claim. 427 F.3d at 1027. The court then found that Maples would

not be required “to carry the full burden of his co-defendant’s delays” because the

codefendant had less incentive to resolve the case, Maples had nothing to do with the

codefendant’s delays, and Maples asserted his speedy-trial right. Id. at 1028. Though

Maples had joined the entrapment motion after it was filed, at most he could be held

responsible for about three months. Id. The time following a decision on the entrapment

motion, consisting of several unexplained adjournments, was attributed solely to the state,

as it bore responsibility for negligence and over-crowded dockets. Id. at 1028-29.

       Nevertheless, the Maples court expressly declined to “decide under what

circumstances one defendant who delays joining a codefendant’s motion should be held

responsible for the full amount of time taken in ruling on the motion,” suggesting that its

decision applied only to the specific circumstances at hand. Id. at 1026 n.3. Regarding a

codefendant’s motions for continuance, the court stated:

                                             13


      Case 2:07-cr-00057-LA       Filed 03/10/15     Page 13 of 33     Document 650
       W e believe this determination to be circumstances-dependent and we do not
       find that delay associated with a co-defendant’s motion to continue can never
       count against a defendant. . . . In deciding whether delay caused by a co-
       defendant’s motion should count, we will examine whether the defendant
       objected to the continuance, whether the defendant moved the trial court to
       comply with speedy trial requirements, whether the defendant moved for
       release, and whether the defendant’s position and interests are aligned with
       the co-defendant.

Id. at 1028 n.5.

       Maples is not controlling precedent and the parties have not pointed the court to any

Seventh Circuit case directly addressing how to attribute blame for a codefendant’s delays.

However, in various Seventh Circuit cases delays caused by codefendants were considered

as part of the constitutional speedy-trial analysis, and they did not weigh against the

government. In Oriedo, the Seventh Circuit considered five continuances requested by

codefendant Smith and eleven continuances requested by Oriedo. 498 F.3d at 597-98.

According to the court, the delays occasioned by codefendant Smith’s motions, “amounting

to a year, are at best neutral and not chargeable to the Government simply because it

elected to try together both defendants involved in a single conspiracy.” Id. at 599. In Hills,

the Seventh Circuit considered together the delay caused by the three defendants. 618

F.3d at 630-31. In Abad, the Second Circuit considered together delays regarding both

defendants, including those relating to a possible death penalty review by the Department

of Justice concerning the codefendant. 514 F.3d at 273, 274-75.

       Thus, based on Seventh Circuit caselaw, even with consideration of Maples, this

court will not charge codefendants’ delays against the government. At most any delays

attributable to codefendants is considered neutral. However, the delays may be chargeable

to the Furrs to the extent they participated in those delays.


                                              14


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 14 of 33     Document 650
       Magistrate Judge Gorence’s recommendation sets forth much of the procedural

history of this case for purposes of the present motion.         (See Doc. 594 at 37-41.)

Substantial delay was caused by the privilege litigation involving the Furrs and defendants

Balsiger and Currey. The Furrs argue that only minimal delay from privilege litigation should

be attributed to them.

       First, the Furrs seek to place blame for privilege-litigation delays on the government

because the government raised the privilege issue before reviewing documents obtained

from former defendant International Outsourcing Services LLC (IOS) and its lawyers after

the company waived its privileges.      According to the Furrs, the cause of delay “was

indisputably the government’s insistence on pursuing documents held by IOS’s lawyers,

hundreds of which were privileged to one or more of the individual defendants in this case.”

(Doc. 573 at 3.) In their reply brief they deem the primary cause of delay in this case as “the

Government’s strategic decision to pursue hundreds of privileged documents.” (Doc. 586

at 2.) They say the “Government created the privilege litigation morass that has consumed

hours of attorneys’ and the Court’s time by indicting 12 defendants and then seeking

thousands of privileged documents from one of those defendants, IOS.” (Doc. 586 at 3.)

       But the United States bears no direct blame for the privilege litigation.          The

government was permitted to investigate relevant evidence obtained after IOS directed its

law firms to produce company files. The IOS Board of Directors proposed and approved

the cooperation agreement and privilege waiver. (See discussion at Doc. 316 at 16-17.)

And litigating the privilege issue was for the defendants’ benefit, not the government’s.

Privilege must be claimed and supported by the party seeking it.           In re Grand Jury

Proceedings, 220 F.3d 568, 570 (7th Cir. 2000). That the government recognized that

                                              15


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 15 of 33     Document 650
documents it obtained from IOS’s attorneys could be privileged for individual defendants did

not mean that any of the defendants were forced to claim such privilege. It was the Furrs’

choice to claim privilege as to particular documents, and they did.3 This court finds that the

government bears no blame whatsoever for delays caused by any defendants regarding the

privilege litigation. See Oriedo, 498 F.3d at 599 (“[T]he delays occasioned by his co-

defendant’s motions, amounting to a year, are at best neutral and not chargeable to the

Government simply because it elected to try together both defendants involved in a single

conspiracy.”).

        Next, the Furrs seek to place blame for delay on codefendants Balsiger and Currey.

The Furrs challenge the recommendation as lumping their actions with those of defendants

Balsiger and Currey, attributing to the Furrs the conduct and privilege litigation delay of

those other defendants. (See Doc. 604 at 4-5.) According to the Furrs, a codefendant’s

discovery dispute cannot trump their Sixth Amendment right to a speedy trial. (Doc. 604 at

5.) They argued in their initial brief that they participated in the privilege litigation “only to

the extent necessary to preserve the relatively few documents truly privileged as to them;

an assertion proven true by the fact that this Court upheld the vast majority of the Furrs’

claims of privilege.” (Doc. 573 at 3.) They contend that they promptly submitted revised

privilege logs as directed by Magistrate Judge Gorence and corrected the relatively limited

number of issues with their claims (when compared to the number of issues regarding their

codefendants’ submissions). (Doc. 604 at 4.) According to the Furrs, Magistrate Judge

        3
          According to the Furrs, the documents at issue in the privilege litigation must not have been crucial
for the government because it indicted without them; thus, say the Furrs, the privilege issue was collateral to
the criminal case. (See Doc. 586 at 3-4.) But this court is not the arbiter of what evidence the government
wishes to have for trial; moreover, the government could not know what the documents contained until this
court ruled them unprivileged.

                                                     16


       Case 2:07-cr-00057-LA             Filed 03/10/15        Page 16 of 33        Document 650
Gorence’s May 2011 order found that only twelve documents of the Furrs’ were either mixed

privilege or not privileged, and the subsequent resolution of the government’s objection from

that order involved Lance Furr and Steven Furr but not Bruce Furr. (Doc. 604 at 4-5.)

       Delays caused solely by Balsiger and Currey certainly cannot be attributed to the

government; at most they are neutral. However, delays can be attributed to the Furrs to the

extent that the Furrs joined in with the Balsiger and Currey litigation, which they did in many

ways. Contrary to the Furrs’ argument in their initial brief, their own privilege litigation did

not concern only a “relatively few documents.” (See Doc. 573 at 3.) Balsiger and Currey

submitted a log that contained over 7700 privilege claims. Rather than compiling a log of

their own, the Furrs in January 2008 adopted Balsiger and Currey’s claims. (See Doc. 215

at 84-85.) Plus, they filed their own privilege claims for over 700 documents. (See Doc.

249 at 8; Doc. 594 at 39; Doc. 162 Exs. B-F.) Balsiger and Currey’s privilege logs were

revised. In August 2008, the Furrs confirmed that they continued to adopt Balsiger and

Currey’s modified claims; at the time the logs for those materials contained over 4700

documents. (Doc. 594 at 39; see Doc. 202 at 32.)

       The Furrs compare their privilege claim regarding 700 documents to the thousands

of documents claimed by Balsiger and Currey. But 700 is a still large number of documents

for the court to review, and because the court’s review of those documents occurred

contemporaneously with that of Balsiger and Currey’s documents, time attributable to one

or the other is not easily parsed. And although the Furrs contend that the magistrate judge

and this court upheld the vast majority of their privilege claims, not all the documents were

found to be privileged.



                                              17


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 17 of 33      Document 650
       It appears true that Balsiger and Currey have dragged this case out; neither has

seemed at all interested in bringing this case to trial. They filed privilege logs regarding

several thousand documents. As noted by Magistrate Judge Gorence, many of the logs

were inadequate and the claims of privilege meritless, so the privilege logs had to be

revised. (See Doc. 594 at 39.) Balsiger and Currey filed two interlocutory appeals and two

mandamus actions. And Balsiger’s lack of action on hiring a new trial lawyer since Sib

Abraham’s death six months ago is seen by this court as reluctance to move the case

forward.

       The Furrs have not procrastinated similarly but they are not blameless, either. They

adopted privilege claims over thousands of documents, several of which were clearly not

privileged, and they claimed privilege for over 700 of their own documents. Taking these

considerations in the Furrs’ favor, to the extent that Balsiger and Currey may be solely to

blame for delays, the court is treating those delays neutrally for purposes of the present

motions. But to the extent that the Furrs joined in on those delays to any extent, weight is

placed on them.

       Further, the privilege litigation delays overlapped with delays caused by several other

motions filed by the Furrs. Time spent by Magistrate Judge Gorence addressing those

various motions caused delay in her getting to the privilege matter. And the delays caused

by the Furrs’ pretrial motions is directly attributable to them. Such delays include a motion

for speedy trial (Doc. 230), filed on October 29, 2008, and the following motions filed by one

or both of the Furrs on December 18, 2008: their motions for bill of particulars (Docs. 253,

257, 262), motion to sever (Doc. 258), and motion to transfer (Doc. 255), motion to dismiss

for violations of their Fifth and Sixth Amendment rights (Doc. 256), and motion to dismiss

                                             18


      Case 2:07-cr-00057-LA       Filed 03/10/15     Page 18 of 33      Document 650
for violation of Bruce Furr’s Fifth Amendment rights (Doc. 254). Several of these motions

were decided by Magistrate Judge Gorence on June 16, 2009 (Doc. 315), but the Furrs then

appealed; this court affirmed on August 21, 2009 (Doc. 346). In affirming the denial of the

Furrs’ motion for speedy trial, this court mentioned that the Furrs had “been actively

engaged in pretrial litigation, which has consumed substantial time by all involved.” (Doc.

346 at 10.) Magistrate Judge Gorence issued a recommendation on the motions to dismiss

on June 25, 2009 (Doc. 316), and this court adopted her recommendation (following the

Furrs’ objections) and denied those motions on August 25, 2009 (Doc. 347). Thus, all of

this delay between October 29, 2008, and August 25, 2009, is attributable to both Bruce and

Steven Furr, and that delay caused further delays in resolution of the privilege matters.

       Also on December 18, 2008, Bruce Furr filed a motion to suppress evidence seized

from his office (Doc. 261). Magistrate Judge Gorence issued a recommendation on July

29, 2009, that the motion be denied. (Doc. 342). Bruce Furr objected and requested an

evidentiary hearing, and this court granted the request. An evidentiary hearing was held on

November 23, 2009, and this court denied the motion to suppress on February 2, 2010

(Doc. 277). This additional delay is attributed to Bruce Furr.

       The court is also mindful that delays caused by the court must be considered and

that the time motions were under advisement must be taken into account. Many motions

(outside of the in camera document reviews and the present motions) were decided with

relative dispatch considering the complexity of the case. But the privilege issues were not.

However, much of the delay before the magistrate judge and this court was caused by the

volume of privilege claims (more than this court has seen in any case before) and the

“woefully inadequate” logs. (See Doc. 379 at 12.) Logs were revised, split, and renamed

                                             19


      Case 2:07-cr-00057-LA       Filed 03/10/15    Page 19 of 33     Document 650
along the way. And although the parties reference briefing on the privilege matter being

completed in December 2008, complete briefing did not mean that the court had what it

needed to decide the privilege issues. The logs were still inadequate. On March 15, 2010,

Magistrate Judge Gorence explained that she had

       spent countless hours reviewing the often haphazard privilege logs submitted
       by the defendants. From the court’s extensive review, it is apparent that the
       defendants did not properly review all of the logs before submitting them to
       the court. Although the volume of privilege claims filed by defendants
       Balsiger and Currey magnify the problems with their logs, the logs submitted
       by the Furr Defendants are not without their own difficulties. Based on the
       problems with numerous log entries, the court is unable to properly determine
       as to whether the stated privilege does, in fact, apply.

(Doc. 379 at 14-15.) Magistrate Judge Gorence pointed out problems with the Furrs’

privilege logs such as lack of an author and the inability to locate on the submitted CD-Rom

disk any of the documents from one privilege log and several specific documents on two

other privilege logs. (Id. at 9-10.) Because of problems with numerous log entries, the court

could not determine whether stated privileges actually applied. The Balsiger/Currey logs

had missing information and several errors as well. (Id. at 10-14.) The Furrs, Balsiger, and

Currey were ordered to submit amended privilege logs.

       The Furrs seek to pass blame to the government for the time between Magistrate

Judge Gorence’s ruling on the privilege issue in May 2011 and this court’s decision in July

2013, because the government, not the Furrs, appealed the ruling. (See Doc. 586 at 4.)

But they overlook the fact that they abandoned their privilege claims over seven documents

still at issue while maintaining their privilege claim as to five other documents. Thus, the

government’s appeal appears valid as to some of the documents while the Furrs still




                                             20


      Case 2:07-cr-00057-LA       Filed 03/10/15     Page 20 of 33     Document 650
maintained their claim of privilege as to other documents, requiring further briefing and court

review.

       Some of the court delays in this case were caused by the structure of criminal case

processing. The assignment to a magistrate judge for pretrial processing generally

expedites matters concerning discovery and routine motions, but not so when the parties

appeal the magistrate judge’s rulings, as has occurred in this case. And for motions to

suppress and to dismiss, the recommendation and objections add an additional level of

briefing and an additional period of consideration by another judge. Those periods of delay

add up if the case bounces back and forth between magistrate judge and district judge as

it did here. (By the court’s count this is the eighth set of objections or appeals to the district

judge. (See Docs. 240, 346, 347, 354, 377, 402, 440, 530, 556.))

       But the length of the delay for the privilege decision was directly tied to the

magnitude of the task. Magistrate Judge Gorence originally had before her privilege claims

for over 9000 documents, then 7700, then 4700, then 2000. The Furrs had their own set

of hundreds of privilege claims separate from the Balsiger/Currey claims. Magistrate Judge

Gorence’s May 11, 2011, decision concerned her review of over 2000 documents. Then,

the government appealed that decision as to about 325 documents. Consequently, this

court had to reconstruct what had occurred before the magistrate judge to ascertain which

were the final logs; which documents had to be found for review; and where those

documents were located, as the documents had been submitted multiple times in multiple

formats. Further, the parties incorporated arguments from prior briefs, requiring the court

to go back and to review documents that had been submitted to the magistrate judge

months or years before. Moreover, the motions involved issues of privilege waiver by

                                               21


      Case 2:07-cr-00057-LA         Filed 03/10/15     Page 21 of 33       Document 650
members of a joint defense team, the crime-fraud exception, and individual versus

corporate privilege. The court’s chart of names of attorneys, defendants, and witnesses for

purposes of determining the writers and recipients of correspondence contained over 100

names. And while Magistrate Judge Gorence had simply set forth her rulings as to the

documents, this court provided specific reasons for the documents on appeal, requiring

careful assembly of explanations in an order and an attachment.

       In United States v. Young, 657 F.3d 408, 415 (6th Cir. 2011), the Sixth Circuit

contrasted that eleven-year complex case involving twenty-five defendants, numerous

motions, and over 3600 docket entries from Maples, in which there were very few motions

and the continuances were unexplained. Thus, the reasonableness of delay due to the

court’s consideration of a motion depends on the number and complexity of the motions and

the number of defendants bringing the motions. Here, the several months from submission

of the final filings on the privilege issue before the magistrate judge until her decision and

the several months between the final filings on the appeal from that decision (in December

2011) and the decision by this court were not substantially unreasonable. To the extent they

were, this factor weighs lightly against the government. See United States ex rel. Mitchell,

750 F.2d at 808-09 (stating that although twenty-two months to adjudicate a motion to

suppress “are a lot, we cannot ascribe fault to the state”). The Furrs have conceded that

this “is an exceedingly complex case.” (Doc. 573 at 7.)

       But this small weight against the government is significantly outweighed by the delay

attributed to the Furrs regarding their motions and privilege issues. On August 21, 2009,

when denying one of the Furrs’ prior motions to dismiss based on speedy-trial grounds, this

court found that the Furrs had not demonstrated that the government was more culpable

                                             22


      Case 2:07-cr-00057-LA       Filed 03/10/15     Page 22 of 33      Document 650
for delay than the Furrs at that point. (Doc. 346 at 9-10.) W hile no precise parsing of this

case into specific months or years of blame since then can be made, the heavier-weighted

delays caused by the Furrs regarding their motions and privilege issues (and their

participation in some of Balsiger’s and Currey’s privilege issues) substantially outweigh the

light-weighted delay against the government for the court’s failure to issue prompt decisions

on motions.

(3)    Assertion of Right

       The quality of the defendant’s assertion of his right to a speedy trial is considered in

the speedy-trial analysis.   Oriedo, 498 F.3d at 597.       However, contrary actions are

considered as well. See id. at 600; United States v. Taylor, 196 F.3d 854, 862 (7th Cir.

1999) (noting that simultaneous demand for a speedy trial and effort to delay proceedings

make the demand “entitled to little, if any, weight”). For instance, in Abad, the court noted

that the defendant raised his speedy trial rights opportunistically, i.e., when it suited his

interests but not when delay benefitted him. 514 F.3d at 275.

       Magistrate Judge Gorence recommended that this factor weighs in the Furrs’ favor.

The Furrs do not object to that recommendation, and this court agrees. However, the

weight of this factor should be tempered slightly by some inconsistency. The Furrs filed

motions for a speedy trial in June 2007 (asking for trial in September or November 2007),

and October 2008 (asking for trial in February 2009). (See Docs. 88, 230.) In April 2008

they asked the government to schedule a trial in September or October 2008. (Doc. 271

Ex. G.) In December 2008 the Furrs sought severance to ensure their speedy trial rights.

(See Doc. 258 at 12-13.) In the severance motion they asked for a trial date in February



                                              23


      Case 2:07-cr-00057-LA        Filed 03/10/15     Page 23 of 33     Document 650
2009. (Id. at 3.) And they filed the present motion. Thus, the Furrs have timely and

frequently asserted their speedy-trial rights.

       However, there have been contrary actions as well. Although they moved for a

speedy trial and sought severance in late 2008 seeking a trial in February 2009, the Furrs

filed numerous other motions that were not fully briefed until March 2009, and at the same

time they were also pursuing hundreds of privilege claims. Thus, although they asked for

a speedy trial the Furrs were also pursuing matters that prolonged this litigation.

       In their initial brief regarding the present motion the Furrs state: “Through this filing,

Bruce and Steven Furr incorporate their prior speedy trial requests and all briefs in support

of their pleadings.” (Doc. 573 at 3 n.1.) Parties seeking a speedy trial should not attempt

to incorporate by reference (and certainly without specifying all the document numbers for

those briefs) a multitude of documents previously filed in a case that now involves over 600

docket entries. Recently, Bruce Furr objected to any immediate competency examination

and argued that any such exam should take place only one month before trial. But if he

cannot assist in his defense, the a quicker examination could resolve his case more quickly.

And at the December 2014 status conference, when asked when they could be ready for

trial, Steven Furr’s counsel stated that they could be ready in the summer 2015. Thus,

although this factor generally weighs strongly in the Furrs’ favor, it is diminished just slightly.

(4)    Prejudice from the Delay

       The Supreme Court has recognized three types of harms from unreasonable delay:

(a) excessive pretrial incarceration; (b) anxiety and stress of the accused, including financial

stress; and © impairment of the accused’s defense such as through dimming memories and

loss of exculpatory evidence. Doggett, 505 U.S. at 654; see Loera II, 714 F.3d at 1031;

                                                24


      Case 2:07-cr-00057-LA         Filed 03/10/15      Page 24 of 33      Document 650
Hills, 618 F.3d at 632. The most serious of these forms of harm is the last, “because the

inability of a defendant adequately to prepare his case skews the fairness of the entire

system.” Doggett, 505 U.S. at 654; Barker, 407 U.S. at 532. For instance, the death of a

witness during the delay could be a serious detriment if the witness would have testified

favorably for the defendant. See Barker, 407 U.S. at 532; State ex rel. Mitchell, 750 F.2d

at 809. But in the absence of a missing witness, this last form of prejudice may be difficult

to prove: “though time can tilt the case against either side, one cannot generally be sure

which of them it has prejudiced more severely.” Doggett, 505 U.S. at 655 (citation omitted).

       Affirmative proof of prejudice is not essential to every speedy trial claim, and some

prejudice is presumed; however, presumptive prejudice alone cannot carry the day without

regard to the other factors.     Doggett, 505 U.S. at 655-56.        Presumed prejudice is

“insufficient to carry a speedy trial claim absent a strong showing on the other Barker

factors,” but even if not dispositive it is part of the mix of relevant facts in the balancing

analysis. Oriedo, 498 F.3d at 600. And generally, “as long as the government shows

reasonable diligence in prosecuting its case, a defendant who cannot demonstrate prejudice

with specificity will not show a Sixth Amendment violation, no matter how long the delay.”

Hills, 618 F.3d at 632. Moreover,

       realism requires recognition that given the government’s heavy burden of
       proof in criminal cases, delay in bringing a case to trial often works in the
       defendant’s favor: if both prosecution and defense witnesses, or a fortiori
       only prosecution witnesses, suffer from fading memories, delay will reduce
       the likelihood of a conviction.




                                             25


      Case 2:07-cr-00057-LA       Filed 03/10/15     Page 25 of 33     Document 650
Loera II, 714 F.3d at 1031; see Barker, 407 U.S. at 521. Also, here, neither of the Furrs has

been incarcerated during the pendency of this case.          Thus, no related prejudice has

occurred.

        Regarding impairment of defense, nothing in the record shows any serious prejudice

to the Furrs’ defense. The Furrs state generally that as witnesses’ memories have faded

exculpatory testimony “concerning the nuances of Bruce Furr’s and Steven Furr’s

involvement with their family business has undoubtedly been lost” (Doc. 573 at 7), but they

provide no specific examples. This is not a case like Dionisio, in which the government

made a tactical decision on extradition, leading to a four-year period between indictment

and arrest. See Dionisio, 2008 W L 4534352. There, regular purging of doctor’s office

records occurred before Dionisio was arrested, and any documents that were not purged

were later destroyed by flooding. Moreover, Dionisio’s memory dimmed regarding details

of the medical care he provided with respect to 890 claims identified by the government and

an unrecorded interview with government agents. Id. at *9-*10. Here, the Furrs have not

pointed to specific evidence that has been lost such as details of specific meetings,

interviews, or conversations or certain documents that have been destroyed.

        In Hills, the Seventh Circuit found that the defendants failed to demonstrate prejudice

even when two witnesses testified that the passage of time affected their memories.

Notwithstanding that testimony, one witness indicated that tying a date to a given meeting

would enable him to answer and neither failed to answer particular question due to memory

loss.   Hills, 618 F.3d at 632.    Another witness who had trouble remembering events

attributed the lack of recollection to an accident that occurred decades earlier, not due to



                                              26


        Case 2:07-cr-00057-LA      Filed 03/10/15     Page 26 of 33     Document 650
the passage of time while the case was pending. Another witness testified that a stroke

affected his ability to speak, not his ability to remember. Id. And while the defendants

identified two witnesses who were no longer available at trial, the defendants did not

reference testimony the witnesses would have offered to help the defense; they merely

speculated that the testimony might have helped. Id. at 632-33.

       The Furrs have presented less than the defendants in Hills. Even in the Sixth Circuit,

which issued Maples, when “the government prosecutes a case with reasonable diligence,

a defendant who cannot demonstrate how his defense was prejudiced with specificity will

not make out a speedy trial claim no matter how great the ensuing delay.” Young, 657 F.3d

at 418 (internal quotation marks omitted). And even if specific prejudice is shown, it must

be substantial for the defendant to prevail on a speedy-trial claim. Id.

       The Furrs contend that Bruce Furr’s mental deterioration qualifies as an impairment,

but they have failed to show how much deterioration has occurred over the last seven to

eight years as opposed to pre-indictment. Their brief suggests that he has suffered health

and memory problems since before the indictment. (Doc. 573 at 7.) Bruce Furr’s attorney

has declared that Bruce had cognitive issues in 2007 when the case began. (Doc. 573 Ex.

1, ¶¶ 1, 4, 10.) Counsel believed in 2008 and 2009 that Bruce Furr’s memory was worse

than that of his peers and that he was often incapable of remembering alleged key meetings

or conversations. (Doc. 573 Ex. 1, ¶ 3.) But, again, that does not point to any impairment

of a defense that exists more now than it did seven years ago. Moreover, counsel says that

Bruce Furr was tested at the Mayo Clinic in 2009 and 2010 and doctors found indications

that he was developing Lewy Body Dementia, an irreversible progressive dementia. (Doc.



                                             27


      Case 2:07-cr-00057-LA       Filed 03/10/15    Page 27 of 33      Document 650
573 Ex. 1, ¶ 7.) Yet counsel did not notify the government or this court of those findings

until late 2013; if the condition was causing rapid deterioration, counsel may have provided

that information earlier. Further, that memory problems identified early in this case were

confirmed over four years ago does not establish that Bruce Furr’s condition has eroded

while this case has been pending. Counsel does state that he has found that Bruce Furr’s

“cognitive abilities have substantially deteriorated since [his] engagement six years ago.”

(Doc. 573 Ex. 1, ¶ 10.) But counsel does not provide the basis for his knowledge, such as

his training or education in cognitive disabilities or specific examples of deteriorating

memory.

       Moreover, the Furrs fail to state how Bruce’s mental impairment has harmed

Steven’s case. Their joint brief contends that Bruce Furr’s health and memory issues

prejudice father and son. (Doc. 573 at 4.) But Steven does not indicate what evidence

Bruce would have had regarding Steven’s case that is now unavailable. He fails to discuss,

for example, what events Bruce would have testified to if his mental condition were better

and whether such testimony is unavailable from other sources.

       As for anxiety and stress, delay may interfere with a defendant’s liberty (even if he

is free on bail) and “may disrupt his employment, drain his financial resources, curtail his

associations, subject him to public obloquy, and create anxiety in him, his family and his

friends.” Moore v. Arizona, 414 U.S. 25, 27 (1973) (internal quotation marks omitted).

However, although community suspicion and anxiety that interfere with normal life create

a disadvantage, Barker, 407 U.S. at 527, the court should consider “undue pressures” rather

than the anxiety that normally accompanies criminal prosecution, see United States v.

Henson, 945 F.2d 430, 438 (1st Cir. 1991), cited in Hills, 618 F.3d at 632.

                                            28


      Case 2:07-cr-00057-LA       Filed 03/10/15    Page 28 of 33     Document 650
        The Furrs contend that their financial ability to fund their defense has been

undermined by delay, but they have provided no evidence that they are financially stressed.

And they fail to reference any particular cost related to the length of time the case has been

pending. (See Doc. 573 at 5.) They say that the financial consequences of delay “have

been exacerbated by the government’s insistence that IOS’s June 2007 Cooperation

Agreement with the government strip the Furrs of their responsibilities and salaries from the

now-defunct business.” (Doc. 573 at 5.) But again, the loss of their company salaries is

unrelated to the length of the case; they admit that the loss of salaries occurred in 2007.

The Furrs state that since losing his role at IOS, Steven Furr has struggled to remain

employed through a series of small business ventures (Doc. 573 at 5). But, Steven’s job

loss from IOS is unrelated to the length of this case. Moreover, the Furrs have provided no

evidence that their salary losses were due to government action or government inaction as

opposed to a business decision by IOS management or directors. Further, the Furrs have

provided no evidence or specific discussion that their financial condition cannot support the

defense they desire. They contend that had they been tried in 2007 or 2008 they would

have saved hundreds of thousands of dollars relating to the privilege litigation or other

pretrial proceedings, but a compressed schedule would not necessarily have resulted in the

privilege issue being dropped.4

        The Furrs also contend that their characters have been called into question and they

have not had the opportunity to vindicate themselves in court. In support they point to



        4
          In their objections, the Furrs point to a brief and attached exhibits filed in January 2009 to argue that
the Furrs were denied proceeds from the sale of IOS and that Bruce’s substantial tax refund was delayed for
two years by the government. (Doc. 604 at 10-11.) But arguing this in the objections, rather than before
Magistrate Judge Gorence, is too late.

                                                       29


       Case 2:07-cr-00057-LA              Filed 03/10/15         Page 29 of 33          Document 650
newspaper articles from 2007 to early 2009, but not any articles that have been written over

time. And they provide no evidence of particular anxiety related to these articles.

        In their reply brief, the Furrs contend that their liberty has been impacted by having

to have all international travel approved and by frequent home visits from pretrial services

(see Doc. 586 at 10), but they have pointed out no other examples of restrictions on their

activities and the record shows the opposite. Anxiety due to inability to travel internationally

cannot be considered severe or undue. Moreover, the Furrs point to no instance when a

travel request has been denied. To the contrary, for instance, Bruce Furr was permitted to

travel to Mexico in March 2013. (Doc. 539.) As for home visits, the U.S. Probation Office

for this district has told the court that home visits for Steven Furr occurred infrequently—only

twice in 2014, for instance.

        Steven Furr has stated under oath (in an affidavit filed with the reply brief) that the

indictment in 2007 caused the loss of his good reputation within the El Paso community, his

resignation from numerous community boards, and the desertion of many friends. (Doc.

586 Ex. A ¶ 3.) Embarrassment and anxiety from this case caused him to move his family

(including school-age children) from El Paso to Boerne, Texas, 520 miles away, in June

2012 to begin a new life. (Id. ¶ 4.) Steven says the indictment ruined IOS, ended his life-

long association with the family company, and caused his career to suffer. He speculates

that without the stigma of the indictment hanging over his head he would have been able

to seek executive-level employment elsewhere or financing for a small business. (Id. ¶ 5.)

The stress from the case caused him to consult with a Stephen Minister5 on a regular basis


        5
         The Furrs do not describe what a Stephen Minister is, but a quick internet search suggests it is
someone “trained to provide one-to-one, Christ-centered care to hurting people.” Stephen Ministries St. Louis,

                                                     30


       Case 2:07-cr-00057-LA            Filed 03/10/15        Page 30 of 33         Document 650
while he resided in El Paso. (Id. ¶ 6.) In addition, he states that when a major customer

of a start-up company he founded learned of the indictment, the customer canceled its

relationship with the start-up, citing uncertainty of the start-up’s legal situation, including the

pending indictment. As a result, the start-up filed for bankruptcy and Steven lost his

$30,000-per-year consulting agreement with the company. (Doc. 586 Ex. A ¶ 8.)

         This form of anxiety and stress does weigh in Steven’s favor for purposes of the

speedy-trial balancing, but not strongly, as no other prejudice regarding defense or

incarceration appears to exist. Importantly, there is no indication that the Furrs’ financial

condition has been unduly difficult or that their defense has been impacted. They continue

to be represented by top law firms.

(5)      Balancing

         As noted above, the factors must be considered together. The longer the delay and

the more vigorous the assertion of the right to a speedy trial, the more reason the

government must show for the delay and the less harm the defendant must show. Loera II,

714 F.3d at 1032; Dionisio, 2008 W L 4534352 at *7. The Furrs believe Magistrate Judge

Gorence did not adequately lower the level of prejudice necessary or demand greater

justification from the government in light of the significant delay in this case. (See Doc. 604

at 3.)

         The delay in this case has been substantial, weighing heavily against the

government. But although the delay in this case has been substantial, the fault for that

delay swings toward the side of the Furrs.                Even though some of the fault for delay


https://www.stephenministries.org (last visited Jan. 23, 2015).



                                                     31


         Case 2:07-cr-00057-LA           Filed 03/10/15       Page 31 of 33   Document 650
concerning privilege litigation and pretrial motions may lie with Balsiger and Currey, that

fault is not attributed to the government, and the Furrs joined in the privilege litigation as

discussed above. The Furrs’ participation in that privilege litigation and in their own motion

practice (filing several substantial motions during the same time period as the privilege

litigation) weighs against them, substantially outweighing the light weight placed on the

government for general delays or court delays. And the blame factor is an important

one—the flag litigants seek to capture. Although the Furrs have asserted their speedy trial

rights, those assertions have been tempered slightly. Importantly, Bruce Furr has

established no actual prejudice other than the presumption of prejudice based on length of

delay. Steven Furr has established a small amount of prejudice based on anxiety and

stress. But neither has been incarcerated or has had his rights to travel substantially

impaired, and neither has shown specific detriment to his defense.

       In Hills, the Seventh Circuit found that no constitutional speedy trial violation occurred

when the defendants were responsible for most of the over two-year delay and failed to

demonstrate prejudice. See 618 F.3d at 632-33. In Barker, though the Court found five

years for a murder case to be extraordinary, prejudice was minimal (even though Barker

spent ten months in jail and lived under a cloud of suspicion following his release), Barker

did not assert his speedy trial rights diligently, and during the pendency of the case he did

not appear to want a speedy trial at all. See 407 U.S. at 534. Consequently, the Court held

that Barker was not deprived of his speedy-trial rights. Id. at 536. In United States v.

Westmoreland, 712 F.3d 1066, 1076-78 (7th Cir. 2013), the Seventh Circuit found that even

an unexplained eight-year delay did not result in a speedy-trial violation when there was no

showing of prejudice.

                                              32


      Case 2:07-cr-00057-LA        Filed 03/10/15      Page 32 of 33      Document 650
       In contrast, in Maples, in which the Sixth Circuit found a speedy-trial violation, all four

factors weighed in favor of Maples. See 427 F.3d at 1034. Significantly, Maples suffered

all three forms of prejudice, including the unavailability of two witnesses. See id. at 1031-

34.

       Here, weighing these factors with the type of prejudice suffered, viewed in the

context of the trial record as a whole, the Furrs have not demonstrated a denial of their

constitutional rights to a speedy trial. Though it is a close call, as noted earlier, blame lies

substantially more with the Furrs than the government, Bruce Furr has established no actual

prejudice, and Steven Furr has presented only minimal prejudice. Also, while the length of

delay and the assertion of the speedy-trial right tilt in the Furrs’ favor, all of the factors

disclosed above must be considered together. Therefore, in this complex litigation, the

balancing of all factors tilts against the Furrs.

                                        CONCLUSION

       For the foregoing reasons,

       IT IS ORDERED that the magistrate judge’s recommendation (Doc. 594) is adopted

and Bruce Furr and Steven Furr’s joint motion to dismiss for violation of their speedy-trial

rights (Doc. 572) is denied.

       Dated at Milwaukee, W isconsin, this 10th day of March, 2015.

                                                            BY THE COURT

                                                            /s/ C.N. Clevert, Jr.
                                                            C.N. CLEVERT, JR.
                                                            U.S. DISTRICT JUDGE




                                               33


      Case 2:07-cr-00057-LA         Filed 03/10/15     Page 33 of 33      Document 650
